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6
                                UNITED STATES DISTRICT COURT
7
                             NORTHERN DISTRICT OF CALIFORNIA
8

9    BRIANNA TABLER, on behalf of herself             Case No.: 19-cv-1646-LHK
     and all others similarly situated,
10                                                    NOTICE OF
                                  Plaintiff,
                                                      VOLUNTARY DISMISSAL
11
     v.                                               WITH PREJUDICE
12
     PANERA, LLC,                                     Action Filed: March 29, 2019
13                                                    Judge: The Honorable Lucy H. Koh
14                                Defendant.
15
            Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Brianna
16
     Tabler, by and through her counsel, hereby gives notice that her claims against Defendant Panera,
17
     LLC in the above-captioned action are voluntarily dismissed, with prejudice.
18

19   DATED: July 30, 2020
                                                                RICHMAN LAW GROUP
20                                                              /s/ Kim E. Richman___________
                                                                Kim E. Richman (Pro Hac Vice)
21
                                                                Jaimie Mak (SBN 236505)
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                                                                Counsel for Plaintiff
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                                                 1
                                   NOTICE OF VOLUNTARY DISMISSAL
              Case 5:19-cv-01646-LHK Document 59 Filed 07/30/20 Page 2 of 2



1                                    CERTIFICATE OF SERVICE
2
            I, Kim E. Richman, hereby certify that on July 30, 2020, I electronically filed the foregoing
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     document with the Clerk of the Court through the Court’s CM/ECF system, thereby providing
4
     notice upon all parties who have entered an appearance in this matter.
5

6                                                                                /s/ Kim E. Richman
                                                                                 Kim E. Richman
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                                    NOTICE OF VOLUNTARY DISMISSAL
